                 Case 20-11120-LSS             Doc 219        Filed 06/17/20        Page 1 of 12




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

 COMCAR INDUSTRIES, INC.,1                                    Case No. 20-11120 (LSS)

                       Debtor.                                (Jointly Administered)


                           NOTICE OF AGENDA OF MATTERS
                     SCHEDULED FOR JUNE 19, 2020 AT 10:00 A.M. (EDT)2

          THIS HEARING WILL BE HELD TELEPHONICALLY AND BY VIDEO.
                  ALL PARTIES WISHING TO APPEAR MUST DO SO
          TELEPHONICALLY BY CONTACTING COURTCALL, LLC AT 866-582-
          6878 NO LATER THAN JUNE 19, 2020 AT 8:30 A.M. (EDT) TO SIGN UP.
             ADDITIONALLY, ANYONE WISHING TO APPEAR BY ZOOM IS
         INVITED TO USE THE LINK AT THE BOTTOM OF THIS NOTICE. ALL
          PARTIES THAT WILL BE ARGUING OR TESTIFYING MUST APPEAR
                          BY ZOOM AND COURTCALL.
      PLEASE NOTE THAT THE MICROPHONES ON THE ZOOM MEETING WILL
        BE MUTED AND THE ONLY AUDIO WILL BE THROUGH COURTCALL.

 MATTERS WITH CERTIFICATION OF COUNSEL (COC):

 1.       Motion of the Debtors for Entry of an Order Authorizing the Debtors to File Under Seal
          Portions of the Debtors’ Consolidated Creditor Matrix Containing Certain Individual
          Creditor Information [D.I. 4].




 1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, are: 9th Place Newberry, LLC (0359); 16th Street Pompano Beach, LLC (0278); CCC Spotting,
 LLC (0342); CCC Transportation, LLC (1058); Charlotte Avenue Auburndale, LLC (2179); Coastal Transport, Inc.
 (2918); Coastal Transport Logistics, LLC (7544); Comcar Industries, Inc. (8221); Comcar Logistics, LLC (2338);
 Comcar Properties, Inc. (9545); Commercial Carrier Corporation (8582); Commercial Carrier Logistics, LLC (7544);
 Commercial Truck and Trailer Sales Inc. (0722); Cortez Blvd. Brooksville, LLC (2210); CT Transportation, LLC
 (0997); CTL Distribution, Inc. (7383); CTL Distribution Logistics, LLC (7506); CTL Transportation, LLC (0782);
 CTTS Leasing, LLC (7466); Detsco Terminals, Inc. (9958); Driver Services, Inc. (3846); East Broadway Tampa, LLC
 (2233); East Columbus Drive Tampa, LLC (3995); Fleet Maintenance Services, LLC (1410); MCT Transportation,
 LLC (0939); Midwest Coast Logistics, LLC (7411); Midwest Coast Transport, Inc. (0045); New Kings Road
 Jacksonville, LLC (4797); Old Winter Haven Road Auburndale, LLC (4738); W. Airport Blvd. Sanford, LLC (0462);
 Willis Shaw Logistics, LLC (7341); WSE Transportation, LLC. The corporate headquarters and the mailing address
 for the Debtors listed above is 8800 Baymeadows Way West, Suite 200, Jacksonville, Florida 32256.
 2
          Copies of all petitions, motions, and pleadings identified herein may be obtained free of charge through the
 website of the Debtors’ proposed claims and noticing agent at www.donlinrecano.com/comcar.



 EAST\174873674
             Case 20-11120-LSS          Doc 219      Filed 06/17/20    Page 2 of 12




       Related Documents:

       A.        Interim Order Authorizing the Debtors to File Under Seal Portions of the Debtors’
                 Consolidated Creditor Matrix Containing Certain Individual Creditor Information
                 [D.I. 81].

       B.        Certification of Counsel Regarding Matrix Seal Motion [D.I. 198].

       C.        Final Order Authorizing the Debtors to File Under Seal Portions of the Debtors’
                 Consolidated Creditor Matrix Containing Certain Individual Creditor Information
                 [D.I. 217].

       Responses Received: None to date.

       Status:      An order has been entered on this matter. Therefore, no hearing is necessary.

2.     Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to
       Continue Their Insurance Policies and Pay Prepetition Obligations with Respect Thereof
       and (II) Granting Related Relief [D.I. 8].

       Related Documents:

       A.        Interim Order (I) Authorizing the Debtors to Continue Their Insurance Policies and
                 Pay Prepetition Obligations in Respect Thereof and (II) Granting Related Relief
                 [D.I. 82].

       Responses Received: None to date.

       Status:      An agreed proposed order will be submitted under Certification of Counsel
                    prior to the hearing.

3.     Motion of the Debtors for Entry of Interim and Final Orders (I) Approving the Debtors’
       Proposed Form of Adequate Assurance of Payment, (II) Establishing Procedures for
       Resolving Objections by Utility Companies, and (III) Prohibiting Utility Companies From
       Altering, Refusing, or Discontinuing Service [D.I. 9].

       Related Documents:

       A.        Interim Order (I) Authorizing the Debtors’ Proposed Form of Adequate Assurance
                 of Payment, (II) Establishing Procedures for Resolving Objections by Utility
                 Companies, and (III) Prohibiting Utility Companies from Altering, Refusing, or
                 Discontinuing Service [D.I. 83].

       B.        Certification of Counsel Regarding Final Order on Utility Motion [D.I. 196].

       Responses Received: None to date.

       Status:      An agreed to proposed order has been submitted under Certification of Counsel.
                    Unless the Court has questions, the proposed order may be entered.


EAST\174873674                                   2
             Case 20-11120-LSS           Doc 219      Filed 06/17/20    Page 3 of 12




4.     Motion of the Debtors for Entry of Interim and Final Orders Authorizing the Debtors to
       Pay Certain Prepetition Taxes [D.I. 10].

       Related Documents:

       A.        Interim Order Authorizing the Debtors to Pay Certain Prepetition Taxes [D.I. 84].

       B.        Certification of Counsel Regarding Final Order on Tax Motion [D.I. 197].

       C.        Final Order Authorizing the Debtors to Pay Certain Prepetition Taxes [D.I. 216].

       Responses Received: None to date.

       Status:      An order has been entered on this matter. Therefore, no hearing is necessary.

5.     Motion of the Debtors for the Entry of Interim and Final Orders (A) Authorizing the
       Debtors to Pay Prepetition Obligations to Certain Critical Vendors and (B) Authorizing
       Banks to Honor and Process Checks and Transfers Related to Such Critical Vendors
       Obligations [D.I. 11].

       Related Documents:

       A.        Interim Order (A) Authorizing the Debtors to Pay Prepetition Obligations to Certain
                 Critical Vendors and (B) Authorizing Banks to Honor and Process Checks and
                 Transfers Related to Such Critical Vendor Obligations [D.I. 85].

       B.        Certification of Counsel Regarding Final Order on Critical Vendor Motion
                 [D.I. 200].

       C.        Final Order (A) Authorizing The Debtors To Pay Prepetition Obligations To
                 Certain Critical Vendors And (B) Authorizing Banks To Honor And Process
                 Checks And Transfers Related To Such Critical Vendors Obligations [D.I. 218].

       Responses Received: None to date.

       Status:      An order has been entered on this matter. Therefore, no hearing is necessary.

6.     Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to
       Pay Certain Prepetition Wages and Compensation and Maintain and Continue Employee
       Benefit Programs and (II) Authorizing and Directing Banks and Certipay to Honor and
       Process Checks and Transfers Related to Such Employee Obligations [D.I. 13].

       Related Documents:

       A.        Interim Order (I) Authorizing the Debtors to Pay Certain Prepetition Wages and
                 Compensation and Maintain and Continue Employee Benefits Programs and (II)
                 Authorizing and Directing Banks and Certipay to Honor and Process Checks and
                 Transfers Related to Such Employee Obligations [D.I. 73].



EAST\174873674                                    3
             Case 20-11120-LSS          Doc 219      Filed 06/17/20    Page 4 of 12




       B.        Certification of Counsel Regarding Final Order on Employee Wage Motion
                 [D.I. 192].

       C.        Final Order (I) Authorizing the Debtors to Pay Certain Prepetition Wages and
                 Compensation and Maintain and Continue Employee Benefits Programs and (II)
                 Authorizing and Directing Banks and Certipay to Honor and Process Checks and
                 Transfers Related to Such Employee Obligations [D.I. 214].

       Responses Received: None to date.

       Status:      An order has been entered on this matter. Therefore, a hearing is not necessary.

7.     Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the Continued
       Use of the Debtors; Cash Management System; (II) Authorizing Continued Intercompany
       Transfers Among Debtors, and (III) Granting Related Relief [D.I. 14].

       Related Documents:

       A.        Interim Order (I) Authorizing the Continue Use of the Debtors’ Cash Collateral
                 System, (II) Authorizing Continued Intercompany Transfers Among Debtors and
                 (III) Granting Related Relief [D.I. 77].

       B.        Certification of Counsel Regarding Final Order on Cash Management Motion
                 [D.I. 191].

       C.        Final Order (I) Authorizing the Continue Use of the Debtors’ Cash Collateral
                 System, (II) Authorizing Continued Intercompany Transfers Among Debtors and
                 (III) Granting Related Relief [D.I. 215].

       Responses Received: None to date.

       Status:      An order has been entered on this matter. Therefore, a hearing is not necessary.

8.     Motion for Entry of an Order Approving the Debtors’ Key Employee Retention Plan
       [D.I. 104].

       Related Documents:

       A.        Notice of Filing Redacted Exhibit B to Motion for Entry of an Order Approving the
                 Debtors’ Key Employee Retention Plan [D.I. 163].

       Responses Received: None to date.

       Status:      An agreed proposed order will be submitted prior to the hearing under
                    Certification of Counsel.

9.     Motion of the Debtors for Entry of an Order Authorizing the Debtors to File Under Seal
       the Key Employee Retention Plan [D.I. 105].



EAST\174873674                                   4
             Case 20-11120-LSS          Doc 219      Filed 06/17/20    Page 5 of 12




       Related Documents: None.

       Responses Received: None to date.

       Status:      An agreed proposed order will be submitted prior to the hearing under
                    Certification of Counsel.

10.    Motion of the Debtors for Entry of an Administrative Order Establishing Procedures for
       Interim Compensation and Reimbursement of Expenses of Professionals [D.I. 130].

       Related Documents:

       A.        Certification of Counsel Regarding Interim Compensation Motion [D.I. 185].

       B.        Administrative Order Establishing Procedures for Interim Compensation and
                 Reimbursement of Expenses of Professionals [D.I. 213].

       Responses Received: None to date.

       Status:      An order has been entered for this matter. Therefore, no hearing is necessary.

11.    Application of Debtors for Entry of an Order (I) Authorizing Them to Retain and Employ
       DLA Piper LLP (US) as Counsel, Nunc Pro Tunc to the Petition Date and (II) Granting
       Related Relief [D.I. 131].

       Related Documents:

       A.        Supplemental Declaration of Stuart M. Brown in Support of Application of the
                 Debtors for Entry of an Order (I) Authorizing Them to Retain and Employ DLA
                 Piper LLP (US) as Counsel, Nunc Pro Tunc to the Petition Date and (II) Granting
                 Related Relief [D.I. 171].

       B.        Certification of Counsel Regarding DLA Piper Retention Application [D.I. 186].

       C.        Order Granting Application of the Debtors for Entry of an Order (I) Authorizing
                 Them to Retain and Employ DLA Piper LLP (US) as Counsel, Nunc Pro Tunc to
                 the Petition Date and (II) Granting Related Relief [D.I. 208].

       Responses Received: None to date.

       Status:      An order has been entered for this matter. Therefore, no hearing is necessary.

12.    Debtors’ Application for Entry of an Order Authorizing the Debtors to Retain and Employ
       Donlin, Recano & Company, Inc. as Administrative Advisor Effective Nunc Pro Tunc to
       the Petition Date [D.I. 132].

       Related Documents:

       A.        Certification of Counsel Regarding DRC 327 Application [D.I. 188].


EAST\174873674                                   5
             Case 20-11120-LSS          Doc 219      Filed 06/17/20    Page 6 of 12




       B.        Supplemental Declaration of Nellwyn Voorhies in Support of the Debtors’
                 Application for Entry of an Order Authorizing the Debtors to Retain and Employ
                 Donlin, Recano & Company, Inc. as Administrative Advisor Effective Nunc Pro
                 Tunc to the Petition Date [D.I. 193].

       C.        Order Granting Debtors’ Application for Entry of an Order Authorizing the Debtors
                 to Retain and Employ Donlin, Recano & Company, Inc. as Administrative Advisor
                 Effective Nunc Pro Tunc to the Petition Date [D.I. 212].

       Responses Received: None to date.

       Status:      An order has been entered for this matter. Therefore, no hearing is necessary.

13.    Application of Debtors for Entry of an Order Authorizing the Debtors Employ Hunton
       Andrews Kurth LLP as Special Counsel for Real Estate and Related Matters Nunc Pro
       Tunc as of the Petition Date [D.I. 133].

       Related Documents:

       A.        Certification of Counsel Regarding Hunton Application [D.I. 187].

       B.        Order Authorizing the Debtors to Employ Hunton Andrews Kurth LLP as Special
                 Counsel for Real Estate and Related Matters Effective Nunc Pro Tunc as of the
                 Petition Date [D.I. 209].

       Responses Received: None to date.

       Status:      An order has been entered for this matter. Therefore, no hearing is necessary.

14.    Application of Debtors to Retain and Employ Bluejay Advisors, LLC as Investment Banker
       Nunc Pro Tunc to the Petition Date [D.I. 134].

       Related Documents:

       A.        Certification of Counsel Regarding Bluejay Application [D.I. 190].

       B.        Supplemental Declaration of Disinterestedness of Billy Hart in Support of the
                 Application of the Debtors to Employ and Retain Bluejay Advisors, LLC as
                 Investment Banker Nunc Pro Tunc to the Petition Date [D.I. 207].

       C.        Order Authorizing the Debtors to Employ and Retain Bluejay Advisors, LLC as
                 Investment Banker Nunc Pro Tunc to the Petition Date [D.I. 211].

       Responses Received: None to date.

       Status:      An order has been entered for this matter. Therefore, no hearing is necessary.




EAST\174873674                                   6
             Case 20-11120-LSS           Doc 219        Filed 06/17/20   Page 7 of 12




15.    Application of Debtors to (I) Employ FTI Consulting, Inc. as Financial Advisor, (II)
       Designating Andrew Hinkelman as Debtors’ Chief Restructuring Officer Nunc Pro Tunc
       to the Petition Date and (III) Granting Related Relief [D.I. 135].

       Related Documents:

       A.        Declaration of Andrew Hinkelman in Support of Application of the Debtors to (I)
                 Employ FTI Consulting, Inc. as Financial Advisor, (II) Designating Andrew
                 Hinkelman as Debtors’ Chief Restructuring Officer Nunc Pro Tunc to the Petition
                 Date and (III) Granting Related Relief [D.I. 136].

       B.        Certification of Counsel Regarding FTI Consulting Application [D.I. 184].

       C.        Order (I) Authorizing the Debtors to (I) Employ FTI Consulting, Inc. (II)
                 Designating Andrew Hinkelman as Debtors’ Chief Restructuring Officer Nunc Pro
                 Tunc to the Petition Date, and (III) Granting Related Relief [D.I. 210].

       Responses Received: None to date.

       Status:      An order has been entered for this matter. Therefore, no hearing is necessary.

16.    Motion of the Debtors for Entry of an Order (I) Establishing Deadlines for Filing Proofs of
       Claim, Including Section 503(b)(9) Claims, (II) Applications for Allowance of
       Administrative Expenses, (III) Approving the Form and Manner of Notice Thereof, and
       (IV) Granting Related Relief [D.I. 158].

       Related Documents:

       A.        Notice of Filing Exhibit [D.I. 161].

       B.        Certification of Counsel Regarding Bar Date Motion [D.I. 189].

       Responses Received: None to date.

       Status:      An agreed proposed order has been submitted under Certification of Counsel.
                    This matter will go forward.

17.    Motion of the Debtors for Entry of an Order Authorizing the Debtors to File Under Seal
       Key Employee Incentive Plan and Related Motion to Approve [D.I. 155].

       Related Documents: None.

       Responses Received:

       A.        United States Trustee’s Objection to Motion of the Debtors for Entry of an Order
                 Authorizing the Debtors to File Under Seal Key Employee Incentive Plan and
                 Related Motion to Approve [D.I. 173].




EAST\174873674                                    7
             Case 20-11120-LSS          Doc 219         Filed 06/17/20   Page 8 of 12




       Status:      An agreed proposed order will be submitted under Certification of Counsel
                    prior to the hearing.

MATTERS GOING FORWARD:

18.    Motion of the Debtors for Entry of an Order Extending the Time to File Schedules of Assets
       and Liabilities and Statements of Financial Affairs and Granting Related Relief [D.I. 6].

       Related Documents: None.

       Responses Received: None to date.

       Status:      This matter is going forward.

19.    Motion of the Debtors for Entry of an Order (I) Authorizing the Private Sale of Certain
       Assets Free and Clear of All Liens, Claims, Encumbrances and Other Interests, (II)
       Authorizing the Sellers to Lease Certain Nonresidential Real Property to the Purchaser,
       (III) Authorizing the Sellers to Assume and Assign Certain Executory Contracts, (IV)
       Approving Bidder Protections, and (V) Granting Other Related Relief [D.I. 23] (CT Sale).

       Related Documents:

       A.        Notice of (I) Cure Amount with Respect to Executory Contracts and Unexpired
                 Leases Potentially to be Assumed and Assigned and (II) Potential Assumption and
                 Assignment of Executory Contracts and Unexpired Leases Regarding the Private
                 Sale of Certain Assets of CT Transportation, LLC [D.I. 122].

       B.        Notice of Auction Relating to CT Sale Motion [D.I. 179].

       Responses Received:

       A.        Reservation of Rights of Navistar Leasing Company with Respect to Motion of the
                 Debtors for Entry of an Order (I) Authorizing the Private Sale of Certain Assets
                 Free and Clear of All Liens, Claims, and Encumbrances and Other Interests, (II)
                 Authorizing the Sellers to Lease Certain Nonresidential Real Property to the
                 Purchaser, (III) Authorizing the Sellers to Assume and Assign Certain Executory
                 Contracts, (IV) Approving Bidder Protections, and (V) Granting Other Related
                 Relief [D.I. 180].

       B.        Reservation of Rights of VFS Leasing Co. with Respect to Motion of the Debtors
                 for Entry of an Order (I) Authorizing the Private Sale of Certain Assets Free and
                 Clear of All Liens, Claims, and Encumbrances and Other Interests, (II) Authorizing
                 the Sellers to Lease Certain Nonresidential Real Property to the Purchaser, (III)
                 Authorizing the Sellers to Assume and Assign Certain Executory Contracts, (IV)
                 Approving Bidder Protections, and (V) Granting Other Related Relief [D.I. 203].

       Status:      This matter is going forward.



EAST\174873674                                      8
             Case 20-11120-LSS           Doc 219        Filed 06/17/20   Page 9 of 12




20.    Motion of the Debtors for Entry of an Order (I) Authorizing the Private Sale of Certain
       Assets Free and Clear of All Liens, Claims, Encumbrances and Other Interests, (II)
       Authorizing the Sellers to Lease Certain Nonresidential Real Property Located in St.
       Gabriel, Louisiana, Mobile, Alabama, Jacksonville, Florida, Tampa, Florida, Atlanta,
       Georgia, and Angleton, Texas to the Purchaser, (III) Authorizing the Sellers to Assume
       and Assign Certain Executory Contracts, (IV) Approving Bidder Protections, and (V)
       Granting Other Related Relief [D.I. 24] (CTL Sale).

       Related Documents:

       A.        Notice of (I) Cure Amount with Respect to Executory Contracts and Unexpired
                 Leases Potentially to be Assumed and Assigned and (II) Potential Assumption and
                 Assignment of Executory Contracts and Unexpired Leases Regarding the Private
                 Sale of Certain Assets of CTL Transportation, LLC [D.I. 121].

       Responses Received:

       A.        Objection of Qualawash Holdings LLC to Debtors’ Notice of Cure Amount with
                 Respect to Executory Contracts and Unexpired Leases Potentially to be Assumed
                 and Assigned and (II) Potential Assumption and Assignment of Executory
                 Contracts and Unexpired Leases Regarding the Private Sale of Certain Assets of
                 CTL Transportation, LLC [D.I. 170].

       B.        Limited Objection of Navistar Leasing Company to Motion of the Debtors for Entry
                 of an Order (I) Authorizing the Private Sale of Certain Assets Free and Clear of All
                 Liens, Claims, Encumbrances and Other Interests, (II) Authorizing the Sellers to
                 Lease Certain Nonresidential Real Property Located in St. Gabriel, Louisiana,
                 Mobile, Alabama, Jacksonville, Florida, Tampa, Florida, Atlanta, Georgia, and
                 Angleton, Texas to the Purchaser, (III) Authorizing the Sellers to Assume and
                 Assign Certain Executory Contracts, (IV) Approving Bidder Protections, and (V)
                 Granting Other Related Relief [D.I. 181].

       C.        Objection of PNC Equipment Finance, LLC to Debtors’ Notice of (I) Cure Amount
                 with Respect to Executory Contracts and Unexpired Leases Potentially to be
                 Assumed and Assigned and (II) Potential Assumption and Assignment of
                 Executory Contracts and Unexpired Leases Regarding the Private Sale of Certain
                 Assets of CTL Transportation, LLC [D.I. 199].

       D.        Conditional Objection and Reservations of Rights (filed by CWI Parties) [D.I. 201].

       Status:      This matter is going forward.

21.    Motion of the Debtors for Entry of an Order (I) Authorizing the Private Sale of Certain
       Assets Free and Clear of All Liens, Claims, Encumbrances and Other Interests, (II)
       Authorizing the Sellers to Assume and Assign Certain Executory Contracts, (III)
       Approving Bidder Protections, and (IV) Granting Other Related Relief [D.I. 25] (MCT
       Sale).



EAST\174873674                                      9
             Case 20-11120-LSS          Doc 219        Filed 06/17/20   Page 10 of 12




       Related Documents:

       A.        Notice of (I) Cure Amount with Respect to Executory Contracts and Unexpired
                 Leases Potentially to be Assumed and Assigned and (II) Potential Assumption and
                 Assignment of Executory Contracts and Unexpired Leases Regarding the Private
                 Sale of Certain Assets of MCT Transportation, LLC [D.I. 120].

       B.        Notice of Filing Amended Asset Purchase Agreement and Revised Proposed Order
                 on MCT Sale Motion [D.I. 169].

       Responses Received:

       A.        Objection of Transport Enterprise Leasing, LLC to Debtors’ Notice of (I) Cure
                 Amount with Respect to Executory Contracts and Unexpired Leases Potentially to
                 be Assumed and Assigned and (II) Potential Assumption and Assignment of
                 Executory Contracts and Unexpired Leases Regarding the Private Sale of Certain
                 Assets of MCT Transportation, LLC [D.I. 172].

       B.        Limited Objection of Navistar Leasing Company to Motion of the Debtors for Entry
                 of an Order (I) Authorizing the Private Sale of Certain Assets Free and Clear of All
                 Liens, Claims, and Encumbrances and Other Interests, (II) Authorizing the Sellers
                 to Assume and Assign Certain Executory Contracts, (III) Approving Bidder
                 Protections, and (IV) Granting Other Related Relief [D.I. 182].

       Status:      This matter is going forward.

22.    Motion of the Debtors for Entry of an Order (I) Authorizing the Debtors to Sell
       Substantially All of the Assets of CC Transportation, LLC and Commercial Truck and
       Trailer Sales, Inc. Free and Clear of All Liens, Claims, Encumbrances and Other Interests;
       (II) Authorizing the Debtors to Sell Certain Real Estate and Improvements Thereon
       Located in Auburndale, Florida; (III) Authorizing the Debtors to Take All Actions
       Necessary to Consummate the Private Sale; (IV) Authorizing the Debtors to Assume and
       Assign Certain Executory Contracts; (V) Approving Bidder Protections; (VI) Approving
       Settlement; and (VII) Granting Other Related Relief [D.I. 96] (CCC/CTTS Repair Sale).

       Related Documents:

       A.        Notice of (I) Cure Amount with Respect to Executory Contracts and Unexpired
                 Leases Potentially to be Assumed and Assigned and (II) Potential Assumption and
                 Assignment of Executory Contracts and Unexpired Leases Regarding the Private
                 Sale of Certain Assets of CCC Transportation, LLC and Commercial Truck and
                 Trailer Sales, Inc. [D.I. 125].

       Responses Received:

       A.        Objection of South State Bank, N.A., f/k/a Centerstate Bank N.A. to Motion of the
                 Debtors for Entry of an Order (I) Authorizing the Debtors to Sell Substantially All
                 of the Assets of CC Transportation, LLC and Commercial Truck and Trailer Sales,


EAST\174873674                                    10
             Case 20-11120-LSS          Doc 219       Filed 06/17/20   Page 11 of 12




                 Inc. Free and Clear of All Liens, Claims, Encumbrances and Other Interests; (II)
                 Authorizing the Debtors to Sell Certain Real Estate and Improvements Thereon
                 Located in Auburndale, Florida; (III) Authorizing the Debtors to Take All Actions
                 Necessary to Consummate the Private Sale; (IV) Authorizing the Debtors to
                 Assume and Assign Certain Executory Contracts; (V) Approving Bidder
                 Protections; (VI) Approving Settlement; and (VII) Granting Other Related Relief
                 [D.I. 166].

       B.        United States Trustee’s Objection Motion of the Debtors for Entry of an Order (I)
                 Authorizing the Debtors to Sell Substantially All of the Assets of CC
                 Transportation, LLC and Commercial Truck and Trailer Sales, Inc. Free and Clear
                 of All Liens, Claims, Encumbrances and Other Interests; (II) Authorizing the
                 Debtors to Sell Certain Real Estate and Improvements Thereon Located in
                 Auburndale, Florida; (III) Authorizing the Debtors to Take All Actions Necessary
                 to Consummate the Private Sale; (IV) Authorizing the Debtors to Assume and
                 Assign Certain Executory Contracts; (V) Approving Bidder Protections; (VI)
                 Approving Settlement; and (VII) Granting Other Related Relief [D.I. 176].

       C.        The Official Committee of Unsecured Creditors’ Objection to Debtors’ Motion of
                 the Debtors for Entry of an Order (I) Authorizing the Debtors to Sell Substantially
                 All of the Assets of CC Transportation, LLC and Commercial Truck and Trailer
                 Sales, Inc. Free and Clear of All Liens, Claims, Encumbrances and Other Interests;
                 (II) Authorizing the Debtors to Sell Certain Real Estate and Improvements Thereon
                 Located in Auburndale, Florida; (III) Authorizing the Debtors to Take All Actions
                 Necessary to Consummate the Private Sale; (IV) Authorizing the Debtors to
                 Assume and Assign Certain Executory Contracts; (V) Approving Bidder
                 Protections; (VI) Approving Settlement; and (VII) Granting Other Related Relief
                 [D.I. 202].

       Status:      This matter is going forward.

         PLEASE TAKE FURTHER NOTICE that all interested parties may appear at the

hearing being held on May 19, 2020 at 2:00 p.m. (EDT) by joining the ZoomGov Meeting at

https://debuscourts.zoomgov.com/j/1609388467 (Meeting ID: 160 938 8467; Password 074745;

Topic: Comcar Industries, Inc. 20-11120 Hearing; Time: June 19, 2020 10:00 AM Eastern Time).

Join by SIP: 1609388467@sip.zoomgov.com. All attendants must also dial in through CourtCall

(call 866-582-6878 to register).




EAST\174873674                                   11
              Case 20-11120-LSS   Doc 219        Filed 06/17/20   Page 12 of 12




Dated: June 17, 2020
       Wilmington, Delaware
                                  Respectfully submitted,

                                  DLA PIPER LLP (US)

                                   /s/ Stuart M. Brown
                                  Stuart M. Brown (DE 4050)
                                  1201 North Market Street, Suite 2100
                                  Wilmington, Delaware 19801
                                  Telephone: (302) 468-5655
                                  Facsimile: (302) 778-7834
                                  Email: stuart.brown@us.dlapiper.com

                                  – and –

                                  Jamila Justine Willis (admitted pro hac vice)
                                  1251 Avenue of the Americas
                                  New York, New York 10020
                                  Telephone: (212) 335-4500
                                  Facsimile: (212) 335-4501
                                  Email: jamila.willis@us.dlapiper.com

                                  Counsel to the Debtors




 EAST\174873674                             12
